
		
OSCN Found Document:RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
						Previous Case


						
						Top Of Index


						
						This Point in Index


						
						Citationize


						
						Next Case


						
						Print Only

					
					
				

				
				RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2023 OK 46Decided: 04/24/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 46, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

&nbsp;


&nbsp;


RE: Revocation of Credentials of Registered Courtroom Interpreters




ORDER


This Court previously suspended the credentials of several Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2022 and/or with the annual credential renewal requirements for 2023. See 2023 OK 16 (SCAD 2023-18, dated February 21, 2023).

Under the applicable rules, a suspended certificate which has not been reinstated on or before April 15 shall be administratively revoked on that date. 20 O.S., Chapter 23, App. II, Rules 18(f) and 20(g). The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed in attached Exhibit A have not reinstated their credential as required by the rules, and the Board has recommended to this Court the revocation of the credential of each of these interpreters.

This Court hereby approves the Board's recommendation of revocation of each of the Registered Courtroom Interpreters named below, and pursuant to the applicable rules such revocation shall be effective April 24, 2023.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 24th day of April, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


&nbsp;

Exhibit A


	
		
			
			Monique Joseph
			
		
		
			
			Manuel Munoz Maldonado
			
		
		
			
			Annette Salinas
			
		
	






	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		






	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
